G. Thomas Martin, III (SBN 218456)
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15760 Ventura Blvd., Suite 1100
Encino, CA 91436

Direct Dial: (818) 907-2030

FaX: (8183 205-3730

 

 

 

 

4 tom@plg awfirm.oom
z Attorneys for Plaintiff, **;`
STEPHANIE BENNETT 9 13
7
8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA -
10 gp cvia- 55 753 (W)
Case No.:
11 STEPHANIE BENNETT
_ , COMPLAINT AND DEMAND FOR
12 Plalrltlff, JURY TRIAL
13 VS- (Unlawful Debt Collection Practices)
14 Demand Does Not EXceed $10,000
PERFORMANT RECOVERY, INC.;
15 and DOES l to lO, inclusive,
16 Defendants.
17
18 COMPLAINT
19 INTRODUCTION
20 l. This is an action for actual and statutory damages brought by Plaintiff,
21 c v
77 Stephanie Bennett, an individual oonsumer, against Defendant, Performant
15 Reoovery, Inc., for violations of the laW, including, but not limited to, violations of
g § l
§§ §24 =»{t;he Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
55 w :~:2'-" n
§§ CD 25 ‘”;;“ '
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COMPLAINT

 

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c‘FDCPA”), Which prohibits debt collectors from engaging in abusive, deceptive,
and unfair practices
VENUE AND JURISDIC'I`ION

2. Iurisdiction ofthis court arises under 15 U.S.C. § 16921<(d) and 28 U.S.C. §
1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.
Venue in this District is proper in that the Defendant transacts business here.

PARTIES
3. Plaintiff, Stephanie Bennett, is a natural person With a permanent residence

in Corona, Riverside County, California 92880.

4. Upon information and beliei`, the Defendant, Perforrnant Recovery, Inc., is a
corporation engaged in the business of collecting debt in this state and in several
other states, With its principal place of business located at 333 North Canyons
Parl<Way, Suite 100, Liverrnore, Alaineda County, California 9455l. The principal
purpose of Defendant is the collection of debts in this state and several other states,

and Defendant regularly attempts to collect debts alleged to be due another.

5. Deli`endant is engaged in the collection of debts from consumers using the

mail and telephone Defendant regularly attempts to collect consumer debts

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COMPLAINT

 

 

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.Case 5:14-cv-00055-.]GB-SP Document 1 Filed 01/10/14 Page 3 of 11 Page |D #:16

 

alleged to be due to another Defendant is a “debt collector” as defined by the

PDCPA, 15 U.s.c. § 16923(6).

FACTS

6. The debt that Dei`endant is attempting to collect on is an alleged obligation
of a consumer to pay money arising out of a transaction in Which the money,
property, insurance or services Which are the subject of the transaction are
primarily for personai, family, or household purposes, Whether or not such
obligation has been reduced to judgment

7. Within one (l) year preceding the date of this Complaint, Defendant, in
connection With the collection of the alleged debt, contacted Plaintiff and
threatened to take legal action against Plaintiff.

8. Defendant has no standing to commence legal proceedings on behalf of the
creditor.

9. Defendant is a debt collection company and as a debt collection company
attempting to collection an alleged debt, Defendant can only refer the matter back
to the creditor With a recommendation that the original creditor attempt legal
proceedings

lO.The representations made to Plaintii`f by Defendant regarding legal

proceedings Were false

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COMPLAINT

 

 

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Case 5:14-cv-00055-.]GB-SP Document 1 Filed 01/10/14 Page 4 of 11 Page |D #:17

ll.Within one (l) year preceding the date of this Cornplaint, Defendant, in
connection With the collection of the alleged debt, Withdrew funds from Plaintift‘s
bank account Without Plaintift‘s authorization

12.The natural consequences of Det`endant’s statements and actions Were to
unjustly condemn and vilii`y Plaintit`f for her non-payment of the debt she allegedly
owed

13.The natural consequences of Defendant’s' statements and actions Were to
produce an unpleasant and/or hostile situation between Defendant and Plaintiff.

14.The natural consequences of Defendant’s statements and actions Were to
cause Plaintiff mental distress

15.Defendant utilized unfair and unconscionable means to collect on Plaintit`i’ s
alleged debt, by lying to and misleading Plaintiff and by taking funds from
Plaintiff's bank account Without authorization

COUNT I m F])CPA

 

l6.Plaintiff repeats and realleges and incorporates by reference to the foregoing
paragraphs
17.Defendants violated the FDCPA. Defendants’ violations include, but are not
limited to, the following:

(a) Defendant violated §]692d of the FDCPA by engaging in conduct

the natural consequences of Which is to harass, oppress, or abuse

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COMPLAINT

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4 Case 5:14-cv-00055-.]GB-SP Document 1 Filed 01/10/14 Page 5 of 11 Page |D #:18

 

any person in connection vvith the collection of an alleged debt;
and

(b)Defendant violated §]692d(2) of the FDCPA by using obscene or
profane language or language the natural consequences of Which is
to abuse the hear or reader in connection With the collection of an
alleged debt; and

(c) Defendant violated §]692€ of the FDCPA by using a false,
deceptive, or misleading representation or means in connection
With the collection of the alleged debt; and

(d) Defendant violated §] 692€(5) of the FDCPA by threatening to take
action that the Defendant does not intend to take and/or the
Defendant cannot legally take; and

(e) Defendant violated §] 692@(10) of the FDCPA by using false
representation or deceptive means in connection With the collection
the alleged debt; and

(1) Defendant violated §]692f of the FDCPA by using unfair or
unconscionable means in connection With the collection of an

alleged debt

18.Defendant’s acts as described above Were done intentionally With the

purpose of coercing Plaintiff to pay the alleged debt

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COMPLAINT

 

 

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Case 5:14-cv-00055-.]GB-SP Document 1 Filed 01/10/14 Page 6 of 11 Page |D #:19

19. As a result of the foregoing violations of the FDCPA, Defendant is liable to
the Plaintiff, Stephanie Bennett, for declaratory judgment that Defendant’s
conduct violated the FDCPA, actual damages, statutory damages, and costs and
attorney fees.

COUNT II - RFDCPA

20. Plaintiff repeats and realleges and incorporates by reference to the foregoing
paragraphs

21. Defendant violated the RFDCPA. Defendant’s violations include, but are
not limited to the following:

(a) Defendant violated §] 788. 17 of the RFDCPA by being a debt
collector collecting or attempting to collect a consumer debt that is
not coinpliant With the provisions of Sections 1692b to 1692j of
the FDCPA, the references to federal codes in this section referring
to those codes as they read as of lanuary l, 200l.

22. Defendant’s acts as described above Were done intentionally With the
purpose of coercing Plaintiff to pay the alleged debt.
23. As a result of the foregoing violations of the RFDCPA, l)el`endant is liable

to the Plaintiff for actual damages, statutory damages, and costs and attorney fees

mg,

 

 

COMPLAINT

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PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff respectfully requests thatjudgment be entered
against Defendant, Perforrnant Recovery, lnc., for the following:
A. Declaratoryjudgment that Defendant’s conduct violated the FDCPA and
RFDCPA.
Actual damages

Statutory damages

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Costs and reasonable attorney fees.
E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
allowed under the laW.

F. For such other and further relief as the Court may deem just and proper.

RESPECTF LY SUBMITTED,

:§CXOUP;APC
o. rhodes iviiaia, in
Attorney for Plaintiff

DATED: lanuary 3, 2014

 

I)EMAND F()R JURY TRIAL
Please take notice that Plaintiff, Stephanie Bennett, demands trial by jury in

this action.

M7m

COMPLAINT

 

 

Case 5:14-cv-00055-.]GB-SP Document 1 Filed 01/10/14 Page 8 of 11 Page |D #:21

UNITEI) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITE¥) STATES ]UDGES

'l"his case has been assigned to District Iudge lesus G. B€rnal and the assigned

Magistrate judge is Sheri Pym

The case number on all documents filed with the Court should read as follows:

sncvia-ss-ios(spx)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate judge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the l\/iagistrate ludge.

Clerl<, U. S. District Court

 

 

 

january 10, 201/aL By C. Sawyer
Dat€ Deputy Clerl<
NOTICE TO COUNSEL

11 copy ofthis notice must be served with the summons and complaint on all defendants (i'fa removal action is

filed a copy ofthis notice must be served on allplainti]jfs).

Subsequent documents must be filed at the following location:

Western Division [:| Southern Division ij Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV~ES (081'§3} NO'FICE OF ASSIGNMENT TO UN}TED STATES }UI)GES

Case 5:14-cV-00055-.]GB-SP Docume:mnl c§\insQleé!O/M Page 9 of 11 Page |D #:22

 

 

 

 

 

 

 

l. (a) PLAINTEFFS ( Checl< box if you are representing yourseif l:l ) D£FENDANTS (Check box it you are representing yourself [:] )
STEPHAN§E BENN£`|'l` PERFORMANT RECOVERY, §NC.; and DOES 1 to 10,1ncluslve.
{b} Attomeys (Firm Name, Address and Teiephone Numbor. if you (b) Attorneys (Firm Name, Addtess and Telepl':one Number. if you
are representing yourseif, provide same information.) are representing yourseif provide same information 1
G. Thomas Martin, ill (SBN 218456)
PiiiCE LAW GROUP, APC, (818)907~2030
%5760 Ventura Blvd., Suite %100, Encinor CA 91436
ll. BASIS OF JURISD|CT|ON {Piace an X in one box oniy.) lll. C¥TIZENSHIP OF PRINClPAL PARTEES-For Diverslty Cases Only
(Place an X' in one box for plaintiff and one for defendent)
P*rF oz~:F PTF DEF
1. U.S. Government l -.3 Fec|eral Question (U. S. C§t]zen O§Tms grate § 1 l:] 1 incorporated or l`-’rincipal Place § 4 §:§ 4
Plaintiff Government Not a ?arty) _ _ of B“Smess m §h'$ Stat@
citizen Of A"O‘~"hei' State §:§ 2 l:l 2 incorporated and Psincipal Place § 5 [:| 5
_ 1 _ _ _ ‘ - ' of Business in Another State
2. U.S. Government m 4, Diverslty (§nci:cate Cit:zenshrp Citizen or Subjec,t of a F _ N ,
Defendant of Parties in item l|l] Foreign Coontry l:] 3 [:l 3 °re'gn a£’°n l:l 6 lj 6
£V. ORlGlN {Place an X in one box only.) 6 M 't.
1. Original 2. Removed from 3. Remanded from 4. Re§nstated or S.Transferred from Another `D»ut -E_t
Proceeding l:] State Coo¢t m Appellate Court §:3 Reopened |:§ DiSrrin (Sperzifyl m Li;i§;;;r;|;n

 

V.REQUES’FED ¥N COMPLA£N?: }URV DEMAND: Yes |:| No (Checi<“\’es" only if demanded in complaint.)

CLASS ACT|ON linder F.R.CV.P. 231 13 YES NO § MONEY DEMANDED lN COMPLA§NT: $ according to proof
Vl. CAUSE OF ACTICN {Cite the U.S. CiviE Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes uniess diversity.}

Vio|ations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq

 

Vll. NATURE OF SU|T {Place an X in one box only).

 

 

 

 

   
 
 
 
 
 
   

   

      
 

 

  

 

  
 

    

 

 

 
 

 

   
 

 

 

 

 

 

 

 

 

 

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Vil¥. VENUEZ Your answers so the questions below Wili desermine the division ofthe Court to which this case wil§ moss iii<eiy be initialiy assigned. This initia§ assignment
is subject to change in accordance wish she Court's Genera| Or_ciers, upon review by the Court of your Comp§aint or Notice of Rernoval.

 

 

 

 

 

 

Question A: Was this case removed from
state court?

f:| Yes No |:] E.os Angeles WES€€¥D
if "NO. " 90 to Q€Je$ti€>n B- if "y€$," Che€k the |:] Ventura, Santa Barl)ara, or San Luis Obispo Westem
box to the right that appliesl enter the 5 h
corresponding division in response to [:| Orange OUT em
Quesrion 9, below, and skip fo Section l)(. E

[_'] Riverside or San Bernardino astem

 

 

 

Question B: is the United States, or one of
its agencies or empiuyees, a party to this

 

 

 

action?

|:| Yes No

 

  

 

 

   

 

 

lf "no, " go to Question C. if "yes," check the LDS A”QE§ES

Los Angeles Western

 

box to tile right that aoplies, enterti'ie
corresponding division in response to

 

Question D, below, and skip to Section IX.

 

 

 

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Ventura. Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
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indicate the location in which a
majority of plaintiffs reside:

 

majority of defendants reside:

 

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C.1. ls either of the following true'.’ if so, check the one that applies:

[:] 2 or moze answers in Colomn C

f::] only l answer in Column C and no answers in Column E)

Your case Will inisial§y be assigned to the
SOUTHERN D§VlSiON.
Enter "Southem" in response to Question D, beiow.

if none app§ies, answer question C2 to the right. nu~}

C.2. ls either of the foiiow`rng true? if so, check the one that applies:
2 or more answers in Column D

|:] only 1 answer in Co!umn D and no answers in Coiumn C

Your case Will initially be assigned to she
EAST£RN DiVlSiON.
Enter "Eastern" in response to Questior\ D, below.

if none applies go to the box belovv. t

 

 

Your case will initially be assigned to the

Enter "Wessern" in response to Question D beiow.

WESTERN D|VlSlON.

 

 

 

    

 

iinter the initial division determined by Ouestion A, B, or C above: aj

 

Eastern

 

 

 

 

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C¥VlL COVER SHEET Page 2 Of 3

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CiViL COVER SHEET
lX{a). IDENTICAL CA$ES: ties this action been previousiy fifed in this court and dismissed remanded or ciosed? NO [:i Y§S
lf yes, list case number(s):
lX(b]. RELATED CASES: i-lave any cases been previously fiied in this court that are reiated to the present case? NO §:} YES

lf yes, list case nnmber{s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Checl< ail boxes that apply

) I:§ A. Arise from the same or closely reiated transactionsr happenings, or events; or

13 B. Cali for determination of the same or substantially related or similar questions of law and iact; or

E C. i‘~‘c)r other reasons would entaii substantiai duplication of labor if heard by differentjudges; or

i:| D. involve the same patent trademark or copyright and one of the factors identified above in a, b or c aiso is present

 

X. SiGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LiTlGANT):

%INME LE U DATE: 1/6/2014

 

 

Notice to CounseilParties: Tne CV-Y‘i (35-44) Civil Cover Sheet and the information contained herein neitiier replace nor supplement the filing and service of pieaclings or
other papers as required by iaw. This form, approved by the Jodicia| Coni'erence of the United States in Septernber 1974, is required pursuant to i.ocal Role 3-‘| is not filed
but is used by the Clerk of the Court for the purpose of statistics venue and initiating the civil docket sheet (For more detailed instructions see separate instructions sheet).

 

Key to Statisticai codes reiating to Sociai Sectirity Cases:

Nature of 5uit Code

861

862

863

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864

865

Abbreviation

HEA

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Substantive Statement of Cause of Al:tion

Ali claims for health insurance benefits (Meciicare] under Title 18, Part A, of the Social Security Act, as amended Also,
include claims by hospitais, skilled nursing facilities, etc., for certification as providers of services under the program
(42 U.S.C. lQSSFF{b)]

All ciairns for "Blacl< Lung" benefits under Title 4, Part‘B, of the Federal Coai iVline Hea|th and Saiety Actoi1969.(30 U.S.C.
923}

All ciairns died by insured workers for disability insurance benefits under Titie 2 of the Social Security Act, as amended; pius
ali claims filed for chiid's insurance benefits based on disability. (42 U.S.C. 405 {g])

All ciaims fiied for widows or widowers insurance benefits based on disability under ’i“itie 2 of the Social Security Act, as
amended {42 U.S.C. 405 (g))

Ai| claims for supplemental security income payments based upon disability nied under iitle 16 ofthe Social Security Act, as
amended

A|i claims for retirement told age) and survivors benefits underTitie 2 ofthe Sociai Security Act, as amended
{42 U.S.C. 405 ig))

 

CV»?'| (09/13}

ClVlL COVER SHEET Page 3 of 3

